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 1

 2                                 UNITED STATES DISTRICT COURT

 3                                       DISTRICT OF NEVADA

 4    RONALD J. ALLISON,                                          Case No. 2:21-cv-01814-APG-NJK

 5                    Plaintiff,
                                                                                ORDER
 6            v.

 7    STEIN FORENSICS UNIT & STAFF,

 8                    Defendant.

 9

10   I.      DISCUSSION
11           On September 30, 2021, Plaintiff, an inmate currently located at Southern Nevada Adult

12   Mental Health Services, submitted a civil rights complaint under 42 U.S.C. § 1983. Docket No.

13   1-1. Plaintiff has not submitted a complaint in compliance with Local Special Rule 2-1 or an

14   application to proceed in forma pauperis or paid the full $402 filing fee in this matter.

15           Complaint

16           The Court notes that Plaintiff's document at Docket No. 1-1 does not comply with Local
     Special Rule 2-1 ("LSR 2-1"). Under LSR 2-1, a civil rights complaint filed by a person who is
17
     not represented by an attorney must be submitted on the form provided by the court or must be
18
     legible and contain substantially all the information called for by the court's form. As such, the
19
     Court grants Plaintiff a one-time extension, until on or before December 6, 2021, to submit a
20
     complaint to the Court in compliance with LSR 2-1. The Court will also provide Plaintiff a copy
21
     of the Court's § 1983 complaint form with instructions.
22
             Application to Proceed in Forma Pauperis
23
             Plaintiff has not filed an application to proceed in forma pauperis or paid the full $402 filing
24
     fee in this matter.
25
             Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to commence a
26
     civil action may apply to proceed in forma pauperis, which allows the inmate to file the civil action
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 1   without prepaying the full $402 filing fee. To apply for in forma pauperis status, the inmate must

 2   submit all three of the following documents to the Court:

 3          (1) a completed Application to Proceed in Forma Pauperis for Inmate, on this Court’s

 4          approved form (i.e. pages 1 through 3 with the inmate’s two signatures on page 3);

 5          (2) a Financial Certificate properly signed by both the inmate and a facility or jail official

 6          (i.e. page 4 of this Court’s approved form); and

 7          (3) a copy of the inmate’s facility or jail trust fund account statement for the previous

 8          six-month period. If Plaintiff has not been at the facility for a full six-month period, Plaintiff

 9          must still submit an inmate account statement for the dates he has been present at the facility.

10          In the event Plaintiff is having difficulty obtaining the required financial certificate and

11   inmate account statement for the previous six-month period from facility officials, Plaintiff must file

12   a declaration detailing when he requested the documents, who he spoke to about the status of the

13   documents, who he followed up with after he did not receive the documents, and their responses.

14   Plaintiff’s declaration shall include dates of his requests, dates of his follow-up requests, names of

15   the facility officials that he spoke to about the matter, and their responses. If Plaintiff’s declaration

16   demonstrates that he has done all that was possible to acquire the documents from facility officials,

17   the Court will consider his application to proceed in forma pauperis complete. 1

18          Accordingly, the Court grants Plaintiff a one-time extension until on or before December

19   6, 2021, to file a fully complete application to proceed in forma pauperis containing all three of the

20   required documents or, alternatively, the first three pages of the application to proceed in forma

21   pauperis and a declaration detailing the efforts he took to acquire the financial certificate and inmate

22   account statement from facility officials. Absent unusual circumstances, the Court will not grant

23   any further extensions of time. If Plaintiff does not file a fully complete application to proceed in

24   forma pauperis with all three required documents or, alternatively, the first three pages of the

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             Plaintiff must still submit the first three pages of the application to proceed in forma pauperis
26   on this Court’s approved form with his declaration. If Plaintiff does not submit the first three pages
     of the application to proceed in forma pauperis with the declaration, the Court will recommend
27   dismissal of this case without prejudice for Plaintiff to open a new case when he is able to acquire
     the required documents.
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 1   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

 2   the financial certificate and inmate account statement from facility officials on or before December

 3   6, 2021, the Court will recommend dismissal of this case without prejudice for Plaintiff to file a new

 4   case with the Court when Plaintiff is able to acquire all three of the documents needed to file a fully

 5   complete application to proceed in forma pauperis or, alternatively, the first three pages of the

 6   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

 7   the financial certificate and inmate account statement from facility officials.

 8          A dismissal without prejudice means Plaintiff does not give up the right to refile the case

 9   with the Court, under a new case number, when Plaintiff has all three documents needed to submit

10   with the application to proceed in forma pauperis or, alternatively, the first three pages of the

11   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

12   the financial certificate and inmate account statement from facility officials. Plaintiff may choose

13   not to file an application to proceed in forma pauperis and instead pay the full filing fee of $402 on

14   or before December 6, 2021 to proceed with this case.

15          The Court will retain Plaintiff’s civil rights Complaint, Docket No. 1-1, but the Court will

16   not file the Complaint unless and until Plaintiff timely files a fully complete application to proceed

17   in forma pauperis with all three documents or, alternatively, the first three pages of the application

18   to proceed in forma pauperis and a declaration detailing the efforts he took to acquire the financial

19   certificate and inmate account statement from facility officials, or pays the full $402 filing fee.

20   II.    CONCLUSION

21          For the foregoing reasons, IT IS HEREBY ORDERED that the Clerk of the Court will send

22   to Plaintiff the approved form for filing a § 1983 complaint, instructions for the same, and a copy

23   of his original document at Docket No. 1-1.

24          IT IS FURTHER ORDERD that Plaintiff will have until on or before December 6, 2021

25   to submit a complaint to the Court in compliance with LSR 2-1.
            IT IS FURTHER ORDERED that, if Plaintiff does not file a complaint in compliance with
26
     LSR 2-1 on or before December 6, 2021, this case will be subject to dismissal without prejudice
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 1   for Plaintiff to refile the case with the Court, under a new case number, when Plaintiff is able to

 2   file a complaint in compliance with LSR 2-1.

 3          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the approved

 4   form application to proceed in forma pauperis by an inmate, as well as the document entitled

 5   information and instructions for filing an in forma pauperis application.

 6          IT IS FURTHER ORDERED that on or before December 6, 2021, Plaintiff shall either pay

 7   the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52

 8   administrative fee) or file with the Court:

 9          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this Court’s

10          approved form (i.e. pages 1 through 3 of the form with the inmate’s two signatures on page

11          3);

12          (2) a Financial Certificate properly signed by both the inmate and a facility or jail official

13          (i.e. page 4 of this Court’s approved form); and

14          (3) a copy of the inmate’s facility or jail trust fund account statement for the previous

15          six-month period. If Plaintiff has not been at the facility a full six-month period, Plaintiff

16          must still submit an inmate account statement for the dates he has been present at the facility.

17          IT IS FURTHER ORDERED that, if Plaintiff is not able to obtain his financial certificate

18   and inmate account statement from facility officials, Plaintiff must file the first three pages of the

19   application to proceed in forma pauperis together with a declaration detailing the efforts he took to

20   acquire the financial certificate and inmate account statement from facility officials.

21          IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete application to

22   proceed in forma pauperis with all three documents, or, alternatively, the first three pages of the

23   application to proceed in forma pauperis and a declaration detailing the efforts he took to acquire

24   the financial certificate and inmate account statement from facility officials, or pay the full $402

25   filing fee for a civil action on or before December 6, 2021, the Court will recommend dismissal of

26   this action without prejudice for Plaintiff to refile the case with the Court, under a new case number,

27   when Plaintiff has all three documents needed to file a complete application to proceed in forma

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 1   pauperis.

 2          IT IS FURTHER ORDERED that the Clerk of the Court shall retain Plaintiff’s civil rights

 3   Complaint, Docket No. 1-1, but the Court will not file it at this time.

 4          DATED: October 7, 2021.

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                                                   NANCY J. KOPPE
 7                                                 UNITED STATES MAGISTRATE JUDGE
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